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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


 STEPHEN J. BURDEN and JACQUELINE S.
 BURDEN, Derivatively on Behalf of General Electric Case No. 1:21-cv-00182-JMF
 Company,
                    Plaintiffs,
 v.                                                 [PROPOSED] ORDER
 SEBASTIEN M. BAZIN, W. GEOFFREY BEATTIE,
 JEFFREY S. BORNSTEIN, JOHN J. BRENNAN,
 JAMES I. CASH, JR., H. LAWRENCE CULP,
 MARIJN E. DEKKERS, FRANCISCO D’SOUZA,
 JOHN L. FLANNERY, EDWARD P. GARDEN, JAN
 R. HAUSER, PETER B. HENRY, SUSAN J.
 HOCKFIELD, THOMAS W. HORTON, JEFFREY
 R. IMMELT, ANDREA JUNG, ROBERT W. LANE,
 RISA LAVIZZO-MOUREY, RICHARD A. LAXER,
 ROCHELLE B. LAZARUS, CATHERINE LESJAK,
 LOWELL C. MCADAM, JAMIE S. MILLER,
 STEVEN M. MOLLENKOPF, JAMES J. MULVA,
 PAULA ROSPUT REYNOLDS, JAMES E. ROHR,
 MARY L. SCHAPIRO, LESLIE SEIDMAN, KEITH
 S. SHERIN, ROBERT J. SWIERINGA, JAMES S.
 TISCH, DOUGLAS A. WARNER III, and ASHTON
 CARTER,
                  Defendants

                -and-

 GENERAL ELETRIC COMPANY, a New York
 corporation,
                Nominal Defendant



       The Court, having reviewed Plaintiffs Stephen J. Burden’s and Jacqueline S. Burden’s

(“Plaintiffs”) Letter renewing their request for voluntary dismissal without prejudice of the above-

captioned action, hereby ORDERS the following:



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      •   The matter of Burden, et al v. Bazin, et al, 1:21-cv-00182-JMF, shall be dismissed

          without prejudice pursuant to Fed. R. Civ. P. 41(a) and 23.1 (c);

      •   Notice to General Electric Company shareholders or others is not required by Fed. R.

          Civ. P. 23.1 (c) because there is no risk of prejudice to absent shareholders in excusing

          notice of the dismissal of these claims; and

      •   Each party shall bear their own costs and attorneys’ fees associated with the prosecution

          of Burden, et al v. Bazin, et al, Case No. 1:21-cv-00182-JMF.


      SO ORDERED.


        February 26, 2021
Dated: ____________________                         ____________________________________
                                                    U.S. District Judge Jesse M. Furman



      The Clerk of Court is directed to close this case. All motions are moot. All
      conferences are canceled.




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